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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7        JANE DOE,                                        Case No. 21-cv-08567-JST
                                                         Petitioner-Plaintiff,
                                   8
                                                                                             ORDER DENYING APPLICATION
                                                   v.                                        FOR TEMPORARY RESTRAINING
                                   9
                                                                                             ORDER
                                  10        DAVID JENNINGS, et al.,
                                                                                             Re: ECF No. 25
                                                         Respondents-Defendants.
                                  11

                                  12
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 United States District Court




                                  13            Before the Court is Petitioner Jane Doe’s1 application for a temporary restraining order.

                                  14   ECF No. 25. Because the Court concludes that Doe has not “clearly show[n] that immediate and

                                  15   irreparable injury, loss, or damage will result to [her] before the adverse party can be heard in

                                  16   opposition,” Fed. R. Civ. P. 65(b)(1)(A), the Court will deny her application for a TRO and

                                  17   convert her motion into one for the issuance of a preliminary injunction.

                                  18   I.       BACKGROUND

                                  19            On November 3, 2021, Doe filed a petition for a writ of habeas corpus and a complaint for

                                  20   declaratory and injunctive relief against four government officials (“Respondents”) in their official

                                  21   capacity, including officials of Immigration & Customs Enforcement (“ICE”). ECF No. 1. “Doe

                                  22   is a 43-year-old queer and transgender national of El Salvador who is diagnosed with

                                  23   Schizophrenia, Posttraumatic Stress Disorder (“PTSD”) and Major Neurocognitive Disorder.” Id.

                                  24   at 2. She is being detained at ICE’s Mesa Verde Detention Facility. Id. at 2-3. Her mental health

                                  25   illnesses render her unable to meaningfully communicate with her counsel. Id. at 3. In her

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                                         On November 12, the Court granted Petitioner’s unopposed motion to proceed under a
                                  28   pseudonym, ECF No. 19, and therefore refers to Petitioner as “Jane Doe” and “Doe” throughout
                                       this Order.
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                                   1   petition, she brings claims under the Rehabilitation Act, the Due Process Clause of the Fifth

                                   2   Amendment, the Immigration and Nationality Act, the Immigration and Nation Act’s

                                   3   implementing regulations, and the Administrative Procedure Act. Id. passim. She seeks an order

                                   4   “for her release so that she may receive proper psychiatric treatment” or, “[a]t a minimum . . . a

                                   5   new bond hearing before an Immigration Judge.” Id. at 3-4.

                                   6            On November 24, 2021, the parties filed a joint stipulation with this Court to remove Doe

                                   7   “from immigration custody to a secure facility for emergency psychiatric care.” ECF No. 20 at 2.

                                   8   The Court granted the stipulation that day, ECF No. 21, and Doe is currently receiving treatment

                                   9   at White Memorial Hospital, pursuant to Cal. Wel. & Inst. Code § 5150. The parties now disagree

                                  10   regarding the appropriate next steps. Once she completes emergency psychiatric care, Doe is

                                  11   likely to receive a referral for inpatient residential treatment at a long-term psychiatric facility.

                                  12   See ECF No. 25 at 2, 6. Such referral may come as soon as today, and Doe may have “only a few
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                                  13   hours to act on it.” ECF No. 25 at 2. However, “due to her significant criminal history,”

                                  14   Respondents are unwilling to release Doe to an unidentified, potentially non-secure facility. ECF

                                  15   No. 20 at 2. Thus, Respondents will agree to allow Doe’s release to a long-term inpatient facility

                                  16   only if it determines that the facility is adequately secure; absent such approval, Doe will be

                                  17   returned to ICE custody. Id. at 6.

                                  18            Doe now seeks a temporary restraining order compelling Respondents to permit Doe to

                                  19   transfer to a long-term inpatient facility regardless of whether they approve that facility, and to

                                  20   prevent Respondents from returning her to ICE custody. ECF No. 25. She argues that once she

                                  21   no longer requires emergency psychiatric care, “the law requires that she be permitted to continue

                                  22   receiving medically proscribed treatment in a residential setting.” ECF No. 20 at 2.

                                  23   II.       JURISDICTION

                                  24            The Court possesses jurisdiction under 28 U.S.C. § 1331.

                                  25   III.     LEGAL STANDARD

                                  26            The same legal standard applies to a motion for a temporary restraining order and a motion

                                  27   for a preliminary injunction. See Stuhlbarg Int'l Sales Co. v. John D. Brush & Co., 240 F.3d 832,

                                  28   839 n.7 (9th Cir. 2001). A plaintiff seeking a temporary restraining order “must establish that he
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                                   1   is likely to succeed on the merits, that he is likely to suffer irreparable harm in the absence of

                                   2   preliminary relief, that the balance of equities tips in his favor, and that an injunction is in the

                                   3   public interest.” Am. Trucking Ass'ns, Inc. v. City of Los Angeles, 559 F.3d 1046, 1052 (9th Cir.

                                   4   2009) (quoting Winter v. Nat. Res. Def. Council, 555 U.S. 7, 20 (2008)). Injunctive relief is “an

                                   5   extraordinary remedy that may only be awarded upon a clear showing that the plaintiff is entitled

                                   6   to such relief.” Winter, 555 U.S. at 22.

                                   7           To grant a temporary restraining order, a court must find that “a certain threshold showing

                                   8   is made on each factor.” Leiva–Perez v. Holder, 640 F.3d 962, 966 (9th Cir. 2011). Even if the

                                   9   moving party is unable to show a likelihood of success on the merits, “serious questions going to

                                  10   the merits and a balance of hardships that tips sharply towards the plaintiff can support issuance of

                                  11   a preliminary injunction, so long as the plaintiff also shows that there is a likelihood of irreparable

                                  12   injury and that the injunction is in the public interest.” Alliance for the Wild Rockies v. Cottrell,
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                                  13   632 F.3d 1127, 1135 (9th Cir. 2011) (quotations omitted).

                                  14           The Court may issue a temporary restraining order without notice only if “specific facts in

                                  15   an affidavit or a verified complaint clearly show that immediate and irreparable injury, loss, or

                                  16   damage will result to the movant before the adverse party can be heard in opposition; and the

                                  17   movant's attorney certifies in writing any efforts made to give notice and the reasons why it should

                                  18   not be required.” Fed. R. Civ. P. 65(b). “The issuance of ex parte temporary restraining orders is

                                  19   ‘extremely limited’ because ‘our entire jurisprudence runs counter to the notion of court action

                                  20   taken before reasonable notice and an opportunity to be heard has been granted both sides of a

                                  21   dispute.’” McGhee v. City of Flagstaff, No. CV-20-08081-PCT-GMS, 2020 WL 1888985, at *1

                                  22   (D. Ariz. Apr. 15, 2020) (quoting Reno Air Racing Ass’n v. McCord, 452 F.3d 1126, 1131 (9th

                                  23   Cir. 2006)).

                                  24   IV.     DISCUSSION

                                  25           As an initial matter, the Court notes that Doe has been aware of the need to seek equitable

                                  26   relief since at least November 1, 2021,2 but waited until yesterday to file her application. ECF No.

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                                        As evidenced by the declarations attached to Doe’s original petition, her need for emergency
                                       psychiatric treatment followed by long-term inpatient psychiatric care has been known since at
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                                   1   25 at 4-5. A plaintiff’s delay in seeking relief weighs against granting a TRO. Devasahayam v.

                                   2   DMB Cap. Grp., No. 3:17-cv-02095-BEN-WVG, 2017 WL 6547897, at *4 (S.D. Cal. Dec. 20,

                                   3   2017) (holding that one month delay was “reason enough to deny a TRO”); Dahl v. Swift Distrib.,

                                   4   Inc., No. CV 10-00551 SJO (RZx), 2010 WL 1458957, at *4 (C.D. Cal. Apr. 1, 2010) (noting that

                                   5   an eighteen-day delay in filing TRO application “implies a lack of urgency and irreparable harm,”

                                   6   especially when the plaintiff “fails to explain why he was unable to seek relief ‘earlier by a motion

                                   7   for [injunction], avoiding the necessity for a last-minute [temporary restraining order]’”). Doe

                                   8   does not adequately address the reason for her delay. That the parties were engaged in

                                   9   negotiations regarding a potential settlement did not preclude Doe from also seeking relief from

                                  10   the Court when the need became apparent. An earlier-filed application would have allowed time

                                  11   for notice to Respondents and an opportunity to be heard. That delay is “reason enough to deny”

                                  12   the TRO. Devasahayam, 2017 WL 6547897, at *4.
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                                  13          Furthermore, Doe has not “clearly show[n] that immediate and irreparable injury, loss, or

                                  14   damage will result to [her] before [Respondents] can be heard in opposition.” Fed. R. Civ. P.

                                  15   65(b)(1)(A). Doe argues that if White Memorial Hospital identifies a residential treatment

                                  16   program with immediate availability, she may only have a few hours to commit or lose the

                                  17   opportunity to participate in the program. ECF No. 25-1 at 8. But Doe has not yet established that

                                  18   she cannot obtain a similar referral should the Court rule in her favor after more extensive briefing

                                  19   and a hearing on this matter. In this regard, the Court notes that the LA Mission residential

                                  20   treatment program confirmed that “if Ms. Doe was released from immigration custody, she could

                                  21   join their long-term residential, dual diagnosis treatment program” subject to a delay due to

                                  22   COVID. ECF No. 25-2 at 5, 9. Thus, the record suggests that even if the Court ultimately rules in

                                  23   Doe’s favor, her options will extend beyond merely the single time-limited referral she now

                                  24   expects to receive. Doe has not adequately addressed this option in her briefing.

                                  25          In striking this balance, the Court must also consider the public safety, a topic on which

                                  26   Respondents have yet to be heard. Doe has already been adjudged to be a danger to the

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                                  28   least August 12, 2021. See ECF No. 1-2 at 160.

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                                   1   community, based not only on her criminal history (which includes a conviction for attempted

                                   2   murder), but her conduct while in CDCR prison custody and following her release. ECF No. 25-3

                                   3   at 130-35. Adding to the Court’s concern is that Doe herself states that her “mental health

                                   4   condition has worsened” in the past two and a half years. ECF No. 25-1 at 7. After consideration

                                   5   of a fuller record, the Court may nonetheless ultimately rule in Doe’s favor and allow her to

                                   6   receive long-term inpatient care, or Respondents may agree to that outcome, rendering Doe’s

                                   7   application moot. But the Court is unwilling to make that determination until Respondents have a

                                   8   chance to be heard.3

                                   9                                            CONCLUSION

                                  10          Because Doe has not clearly shown that immediate and irreparable injury, loss, or damage

                                  11   will result to her before Respondents can be heard in opposition, her motion for a temporary

                                  12   restraining order is denied. The Court sua sponte converts her motion to one for a preliminary
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                                  13   injunction. See JW Gaming Dev., LLC v. James, No. 3:18-CV-02669-WHO, 2021 WL 2531087,

                                  14   at *1 (N.D. Cal. June 21, 2021); Multiquip Inc. v. Water Mgmt. Sys. LLC, No. CV 08-403-S-EJL,

                                  15   2009 WL 1469003, at *5 (D. Idaho May 22, 2009). Respondents’ opposition is due December 7,

                                  16   2021; Doe’s reply brief is due December 10, 2021; and the Court will hold a hearing on the

                                  17   motion on December 16, 2021 at 9:30 a.m.

                                  18          In the meantime, the parties are encouraged to continue to attempt to find a mutually

                                  19   agreeable resolution.

                                  20          IT IS SO ORDERED.

                                  21   Dated: December 2, 2021
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                                                                                                     JON S. TIGAR
                                  23                                                           United States District Judge

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                                        Having reached this conclusion, the Court need not reach now Doe’s likelihood of success on the
                                       merits.
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